                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
v.                                           )       Case No. 13-00405-01-W-BCW
                                             )
RASHAWN LONG                                 )
                                             )
                              Defendant.     )


                              SENTENCING MEMORANDUM

       On August 21, 2014, Defendant was found guilty of Possession with Intent to

Distribute a Mixture and Substance Containing 5.67 grams of 2-(Methylamino)-1-phenyl-1-

butanone, a Class C felony; and Felon in Possession of a Firearm, a Class C felony.

Defendant has numerous objections to the Presentence Investigative Report (‘PSI’) pending

before this Court and Defendant objects to the Government filings requesting the Court

upward depart from the guidelines.

       This case is about the Defendant being convicted for possessing 5.67 grams of an

alleged controlled substance and possession of a firearm that was depicted on a video

camera (no actual gun presented). Defendant will raise an ongoing objection to all the

Government’s exhibits and witnesses based on them not bearing an indicia of reliability.

To sentence Defendant above the guidelines because of any alleged uncharged conduct or

charged conduct that will be properly litigated in state court would be unreasonable.

       Pending Defendant’s objections, the final “PSI” shows a criminal history category

IV (seven criminal history points) and a base offense level of 26 (92-115 months).




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        Paragraph 40 of the ‘PSI’ currently gives Defendant four criminal history points and

Defendant’s position is that it should only give three criminal history points. The charges

of Murder in the 2nd Degree and Armed Criminal Action where charged together (same

charging document dated March 6, 2001) on the same day (no intervening arrest) for the

same offense conduct. Both counts were pled by the Defendant on the same day and the

sentences on both counts were concurrent to each other. Defendant was sentenced to 12

years total on these offences. The offense of Armed Criminal Action itself has no element

of violence in its statutory construction and therefore should not qualify separately as a

crime of violence under 4A1.1 (e) even though current Eight Circuit case law says

otherwise.

        If Defendant prevails on the objection to paragraph 40, the Defendant’s criminal

history category would be III (six criminal history points) and the guideline range would be

78-97 months. Defendant will be requesting sentence at the low end of the applicable

guideline range (78 months). If the Court rules against Defendant’s objection, the

Defendant will be facing a guideline sentence of 92-115 months and Defendant will be

asking for a downward variance to 78 months.


        A.      The § 3553(a) Sentencing Mandate

        The overriding principle and basic mandate of the statute requires district courts to

impose a sentence "sufficient, but not greater than necessary," to achieve the four purposes of

sentencing set forth in Section 3553(a)(2): (a) retribution; (b) deterrence; (c) incapacitation; and

(d) rehabilitation.

        B.      The Guidelines and Other Factors Courts Must Consider in Determining a

Punishment that Fulfills the Sentencing Mandate under § 3553(a)(2).



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       In determining the sentence minimally sufficient to comply with the Section 3553(a)(2)

purposes of sentencing, the court must consider several factors listed in Section 3553(a). Those

factors include:

               (1)   the nature and circumstances of the offense and the history and
                     characteristics of the defendant;
       The nature and circumstances of the Defendant’s arrest in this case, search of the vehicle,

and seizure of items from the vehicle are all very unique and will be the subject of future

appeals. Those issues will be litigated at another time. In this case we are dealing with allegedly

5.67 grams of a controlled substance. It is important to note the alleged gun that forms the basis

for count two, felon in possession of a firearm, is in a video clip from a video camera and no

actual gun was ever presented in this case.

       The Government is attempting to cross reference Federal Sentencing Guideline Section

2K2.1(c)(1)(b) to enhance defendant’s sentence. In order for this cross referenced section to

apply the firearm used in a crime resulting in death must be the same firearm as the firearm cited

in count two of the crime of conviction. The cross reference section 2K2.1(c)(1)(b) states, “If

the Defendant used or possessed any firearm or ammunition cited in the offense of conviction in

connection with…commission of another offense.” This particular cross reference is impossible

to prove without the actual gun being tested. Any reference to make, model, or caliber is simply

speculation without the actual gun and ballistics testing showing the same gun was utilized in a

homicide resulting in death.

               (2)     the need for the sentence imposed

                          a. to reflect the seriousness of the offense, to promote respect for
                             the law, and to provide just punishment for the offense;
                          b. to afford adequate deterrence to criminal conduct;
                          c. to protect the public from further crimes of the defendant; and
                          d. to provide the defendant with needed educational or vocational



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                              training, medical care, or other correctional treatment in the most
                              effective manner;
       There is no question this is a serious offense and if Defendant is sentenced to 78 months

or anywhere within the applicable guideline range he will be more than held accountable for his

actions. The Government has alleged that Defendant has admitted to five – six murders in their

sentencing memorandum, yet he is only charged with one murder as further outlined below.

The Defendant did take full responsibility for a homicide in 2001 when he was 20 years old as

further discussed below.

       The Government is asking this Court to charge, convict and sentence the Defendant for

uncharged homicides. As far as other crimes of violence or homicides, the proper venue for

charging those crimes is state court not at a federal sentencing hearing. This Court should have

great concern when considering evidence at this hearing when no charges have been filed by

state prosecutors reviewing those other alleged homicide cases.

       The Government is asking this Court to resentence (upward depart) the Defendant for a

homicide he pled guilty to fifteen years ago in Jackson County. The Defendant stood in front

of a Jackson County Judge and accepted responsibility for a homicide in 2001 and was

sentenced to 12 years in the Missouri Department of Correction for that offense. Defendant

will receive either three or four criminal history points related to that plea and sentence. Not

only was this case properly litigated in the proper forum, this crime is fully accounted for in the

Defendant’s criminal history in the ‘PSI.’ To further enhance his sentence on this case would

be unreasonable.

       The Government is requesting this Court try, convict and sentence Defendant on a case

that is currently charged in Jackson County (1416-CR02897). This charged homicide will be

tried, as it should, in front of a jury of Defendant’s peers with the proper constitutional




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safeguards. The Defendant currently has a $500,000.00 cash only bond on this Jackson County

case. That bond assures this Court the Defendant will face these charges without ever leaving

custody from whatever sentence the Court hands down in this case. It would be unreasonable

for this Court to fashion a sentence in this case for facts and circumstances that will be fully

litigated in Jackson County, Missouri.

       The Government has chosen to present this Court with extremely limited evidence and

selective witnesses knowing a great majority of this evidence is not admissible in state court

proceedings. The Government has chosen this method and forum because they know the

constitutional safeguards that should apply to these serious offenses are not present in federal

sentencing hearings. There are virtually no constitutional safeguards in place at a federal

sentencing hearing. If the overall evidence of any of these uncharged crimes had a “sufficient

indicia of reliability” the Defendant would be charged in state court with those crimes.

               (3)     the kinds of sentences available:

       The Defendant’s position on the kind of sentences available differs from those proposed

by the Government. The Government is requesting 30 years on count one, 10 years consecutive

on count two for a total of up to 40 years.

       Defendant’s position is that if the Court is to upward depart in this case based on any

cross reference to the firearm (in a video) or relevant conduct related to firearms, the Defendant

should only be subject to the 10 year maximum sentence under count two, felon in possession of

a firearm. To sentence the Defendant up to 30 years on count one, a class C felony, for 5.67

grams of alleged 2-(Methylamino)-1-phenyl-1-butanone would be unreasonable. To run any

statutory sentences consecutive would be even more unreasonable.

               (4)     the advisory guideline range:




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        The final ‘PSI’ has Defendant’s guideline range at 92-115 months with Defendant’s

objection to paragraph 40 of the ‘PSI’ pending. If Defendant’s objection is sustained the

advisory guideline will lower to 78-97 months because his criminal history category would be

level III.

              (5)     any pertinent policy statements issued by the Sentencing Commission;
              (6)     the need to avoid unwarranted sentence disparities:
        The Court should sentence Defendant within the applicable guideline range. If anything

the unique nature and circumstances of this case warrants a sentence at the low end of the

guidelines.

                 (7)   the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a) (2007).

        Defendant respectfully requests a sentence of 78 months. Again, this case is about 5.67

grams of controlled substance and possession of a firearm that was depicted on a video camera.

Any sentence within the guideline range will send the appropriate message and provide adequate

deterrence to future criminal conduct. Defendant will be properly tried by a jury of his peers in

Jackson County on the only homicide case state prosecutors have chosen to file.

                                              Respectfully submitted,


                                              By /s Patrick J. O’Connor_________________
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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was electronically delivered
on this 9th day of February, 2016 addressed to: Assistant United States Attorney’s Joseph
Marquez and Jeffrey McCarther, U.S. Attorney’s Office, Charles Evans Whittaker Courthouse,
400 East Ninth Street, Kansas City, MO 64106.

                                              /s/ Patrick J. O’Connor




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